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AO 121 (Rev. 06/16)
TO:

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     Pending, case number
1     1-6689555661
                                      Pretty in Plastic Rainbow Sherbet Room Design Proposal

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      In the above-entitled case, the following copyright(s) have been included:
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1

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3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

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